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                         EXHIBIT A
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                                                                         Implant                                                      Filing
 No.           Plaintiff      Case No.    State        Lead Counsel                  Cat.   Short Description of Injury and Date
                                                                          Date                                                        Date
  1     Anderson-Kuhn,        1:16-cv-   Alabama   MATTHEWS &           01/28/2010    7     Category 7: Perforation/Migration       1/22/2016
        Diana                 00182                ASSOCIATES                               (12.14.2011)
  2     Davidson, Toney       1:16-cv-   Alabama   THE GOSS LAW FIRM,   12/29/2007    3     Category 3: Lifelong ACs (4.18.2008)    8/25/2016
                              02265                P.C.
  3     Davis, William J.     1:18-cv-   Alabama   THE MAHER LAW        12/30/2010    7     Category 3: Lifelong ACs (3.8.2012),    9/27/2018
                              02985                FIRM, P.A.                               Category 7: DVT (3.8.2012), Category
                                                                                            7: Occlusion (6.12.2015)
  4     Garrison, Tina        1:16-cv-   Alabama   FARRIS, RILEY, &     09/12/2008    5     Category 5 Failed Retrieval             9/15/2016
                              02462                PITT, L.L.P                              (12.10.2008); Category 4 Unable to
                                                                                            Retrieve (same record)
  5     Hrabowski,            1:18-cv-   Alabama   MATTHEWS &           01/11/2010    7     Category 7: Perforation (8.16.2011),    8/28/2018
        Adidas M.             02662                ASSOCIATES                               Category 7: Migration (3.8.2015)
        [ESTATE OF]
  6     Kerr, Aimee           1:16-cv-   Alabama   LEVIN PAPANTONIO     06/03/2011    5     Category 5 Failed Retrieval             10/5/2016
                              02659                THOMAS MITCHELL                          (7.26.2011); Category 4 Unable to
                                                   RAFFERTY &                               Retrieve (same record)
                                                   PROCTOR, P.A.
  7     Land, Steven          1:17-cv-   Alabama   WAGSTAFF &           04/01/2010    5     Category 5 Failed Retrieval (9.22.2010) 7/11/2017
                              02349                CARTMELL, LLP
  8     Overton,              1:18-cv-   Alabama   NIEMEYER, GREBEL     10/26/2009    7     Categories 7d Migration, 7e             5/6/2016
        Stephanie             00845                & KRUSE, LLC                             Perforation, Category 5, Category 4     (initially
                                                                                            (claims supported by failed retrieval   filed as
                                                                                            record dated 6.16.2010)                 part of
                                                                                                                                    multi-
                                                                                                                                    plaintiff
                                                                                                                                    case no.
                                                                                                                                    1:17-cv-
                                                                                                                                    06065)



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 No.           Plaintiff      Case No.    State       Lead Counsel                      Cat.   Short Description of Injury and Date
                                                                             Date                                                         Date
  9     Perkins, Mary         1:19-cv-   Alabama   FENSTERSHEIB LAW        12/10/2009    3     Category 7(e) Perforation (1.31.2014),   1/14/2019
                              00132                GROUP, P.A.                                 Category 7(f) PE (same record),
                                                                                               Category 3 Anticoagulaiton (2.4.2014)
  10    Turner, Sonny         1:18-cv-   Alabama   CURTIS LAW GROUP        08/06/2013    7     Category 7(f) PE (11.18.2013)            4/6/2018
                              01059
  11    White, Jerri and      1:18-cv-   Alabama   FARRIS, RILEY, &        10/05/2010    5     Category 5 Failed Retrieval (1.24.2011) 1/12/2018
        Jimmy                 00101                PITT, L.L.P
  12    Williams,             1:16-cv-   Alabama   GRUBER & GRUBER         03/04/2007    5     Category 5 Failed Retrieval              11/3/2016
        Stephanie             03014                                                            (7.18.2007); Category 4 Unable to
                                                                                               Retrieve (same record)
  13    Cook, Nathaniel       1:17-cv-   Idaho     WILSHIRE LAW FIRM       09/30/2006    7     Category 7(e) Perforation (4.8.2010);    9/21/2017
                              03380                PLC                                         Category 5 Difficult Retrieval
                                                                                               (5.27.2010)
  14    Corder, Lavonne       1:17-cv-   Idaho     LOPEZ MCHUGH LLP        04/12/2006    5     Category 5 Failed Retrieval (6.8.2006)   7/7/2017
        and Timothy           02327
  15    Deleski, Terry        1:18-cv-   Idaho     JOHNSON LAW             10/02/2009    7     Category 7(a) Clot in Filter (10.29.2009 2/20/2018
        Ray                   00498                GROUP
  16    Driver, Samantha      1:17-cv-   Idaho     WEITZ &                 05/04/2010    5     Category 5 Failed Retrieval (3.11.2011) 9/14/2017
                              03262                LUXENBERG, P.C.
  17    Horton, Glenda        1:16-cv-   Idaho     BRANCH LAW FIRM         10/03/2007    5     Category 5 Failed Retrieval (3.24.2008) 1/21/2016
                              00175
  18    Pierson,              1:17-cv-   Idaho    BERTRAM & GRAF,    03/11/2014          6     Category 6 Perforation (7.9.2014);       9/15/2017
        Jermaine              03284               L.L.C.                                       Category 5 Failed Retrieval (8.5.2014)
  19    Webster, Loriann      1:17-cv-   Idaho    AYLSTOCK, WITKIN,  10/27/2012          7     Category 7(e) Perforation (2.6.2015)     7/25/2017
                              02510               KREIS & OVERHOLTZ,
                                                  PLLC
  20    Bak, Brandon          1:17-cv-   Michigan MATTHEWS &         10/05/2005          7     Category 5: Failed Retrieval             6/13/2017
        Philip                01965               ASSOCIATES                                   (1.17.2006), Category 7 Perforation
                                                                                               (1.17.2006), Category 7: PE
                                                                                               (12.7.2005)

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 No.           Plaintiff      Case No.    State       Lead Counsel                      Cat.   Short Description of Injury and Date
                                                                             Date                                                          Date
  21    Ball, Janice          1:17-cv-   Michigan PETERSON &               09/05/2012    7     Category 7(e) Perforation and 7(i)        4/26/2017
                              01320               ASSOCIATES, P.C.                             Bleeding; Category 6 Tilt in Renal
                                                                                               Vein; Category 5 Failed Retrieval (all
                                                                                               claims supported by 10.17.2012 failed
                                                                                               retrieval record and 11.19.2012
                                                                                               successful retrieval record
  22    Bartolotta, Eva       1:18-cv-   Michigan FLINT LAW FIRM, LLC 10/18/2004         7     Category 7: Perforation (9.2.2008)        1/26/2018
        and Michael           00230
  23    Boone, Diondrae       1:19-cv-   Michigan FEARS NACHAWATI,         10/02/2015    5     Category 5 Two Failed Retrieval           5/22/2019
        and McLilly,          02047               PLLC                                         Attempts (12.7. 2015 and 12.18.2015)
        April
  24    Bowie, Kenneth        1:19-cv-   Michigan AYLSTOCK, WITKIN,  01/29/2009          7     Category 7 Unspecified (5.7.2009);      2/14/2019
                              00666               KREIS & OVERHOLTZ,                           Category 4 Unable to Retrieve (same
                                                  PLLC                                         record)
  25    Clark, Robert W.      1:17-cv-   Michigan OSBORNE & FRANCIS 09/01/2011           5     Category 5 Failed Retrieval (12.6.2011) 5/16/2017
        & Andrea              01598               LAW FIRM, PLLC

  26    Collins, Kerri        1:18-cv-   Michigan THE MAHER LAW            09/15/2010    5     Category 5 Failed Retrieval (3.3.2011):   9/19/2018
                              02901               FIRM, P.A.                                   Category 4 Unable to Retrieve (same
                                                                                               record)
  27    Delvalle, Sacha       1:18-cv-   Michigan SAUNDERS &               04/11/2007    7     Category 7: PE (7.25.2011), Category      8/1/2018
        E.                    02347               WALKER, P.A.                                 5: Failed Retrieval (4.30.2007),
                                                                                               Category 6: Tilt/Perf (4.27.2007)
  28    Devine, Kelly         1:19-cv-   Michigan FLINT LAW FIRM, LLC 10/22/2007         7     Category 7: Perforation (7.4.2014)        2/25/2019
                              00811
  29    Dobies, Alan          1:17-cv-   Michigan SWEENEY MERRIGAN         05/14/2012    7     Category 7: Perf and Thrombosis and       8/4/2017
                              02631               LAW                                          Category 4: Unable to Retrieve
                                                                                               (7.23.2013), Category 3: Lifelong ACs
                                                                                               (7.29.2013)



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 No.           Plaintiff      Case No.    State      Lead Counsel                      Cat.   Short Description of Injury and Date
                                                                            Date                                                         Date
  30    Douglass, Tanja       1:17-cv-   Michigan LOPEZ MCHUGH LLP        11/16/2009    7     Category 7(a) Occlusion and 7(g) DVT     5/5/2017
        & Cornelius           01478                                                           (1.6.2010); Category 3 Occlusion
                                                                                              Below Filter (same record)
  31    Driggers, Laura       1:16-cv-   Michigan GRUBER & GRUBER         06/08/2007    7     Category 7(a) Thrombus in Filter         11/4/2016
                              03032                                                           (5.21.2009)
  32    Etheredge,            1:17-cv-   Michigan LAW OFFICES OF          12/30/2007    7     Category 3: Stenosis and Category 7:     9/19/2017
        Manda                 03333               BAIRD BROWN                                 DVT (6.19.2008)
  33    Floyd, Stephen        1:17-cv-   Michigan SANDERS VIENER          01/22/2010    7     Category 7(e) Pain at implant site       4/21/2017
                              01256               GROSSMAN, LLP                               (2.3.2010 note discussing placement
                                                                                              record)
  34    Ford, Corinthia       1:16-cv-   Michigan LOPEZ MCHUGH LLP        11/26/2012    7     Category 7(f) PE (12.22.2012);           12/15/2016
                              03388                                                           Category 7(g) DVT (same record)
  35    Frey, Steve           1:17-cv-   Michigan BERTRAM & GRAF,         12/27/2011    6     Category 6 Filter Repositioning          11/10/2017
                              04197               L.L.C.                                      (12.30.2012)
  36    Frost, Beverly        1:17-cv-   Michigan LAW OFFICES OF          02/10/2006    5     Category 5 Failed Retrieval (5.1.2006)   8/11/2017
                              02742               JEFFREY S.
                                                  GLASSMAN
  37    Hanners, Cynthia      1:19-cv-   Michigan LAW OFFICE OF           07/06/2011    6     Category 6 Filter Positioning (records   5/21/2019
        and Dustin            02031               CHRISTOPHER K.                              regarding hospitalizations dated
                                                  JOHNSTON, LLC                               7.6.2011 and 1.18.2012)
  38    Hayes, Melissa   1:17-cv-        Michigan BERTRAM & GRAF,         06/07/2008    5     Category 5 Failed Retrieval Attempt      5/3/2017
                         01417                    L.L.C.                                      (8.28.2008)
  39    Hollebeek, David 1:16-cv-        Michigan BRANCH LAW FIRM         10/25/2008    5     Category 5 Failed Retrieval              1/21/2016
        and Julie        00174                                                                (1.15.2009); Category 4 Unable to
                                                                                              Retrieve (same record)
  40    Hubert, George        1:17-cv-   Michigan MATTHEWS &              09/19/2013    7     Category 5: Complex Retrieval            6/12/2017
        F.                    01939               ASSOCIATES                                  (9.19.2013), Category 7: PE
                                                                                              (11.13.2013)



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 No.           Plaintiff      Case No.    State       Lead Counsel                      Cat.   Short Description of Injury and Date
                                                                             Date                                                          Date
  41    Johnson, Gaylua       1:17-cv-   Michigan BARON & BUDD, P.C.       06/18/2003    7     Category 7: Occlusion/DVT                 5/5/2017
                              01468                                                            (10.15.2010), Category 3: Stenosis,
                                                                                               DVT recurrence, Acs (4.2.2014)
  42    Johnson, Maria        1:17-cv-   Michigan SWEENEY MERRIGAN         02/01/2011    7     Category 4: Advised not to remove and     2/24/2017
        L.                    00608               LAW                                          Category 7: Perforation (6.28.2013)
  43    Johnson, Ralph        1:18-cv-   Michigan LIEFF CABRASER           12/15/2005    7     Category 7: Perforation/Thrombosis        7/9/2018
        and Cynthia           02073               HEIMANN &                                    (10.4.2012)
                                                  BERNSTEIN, LLP
  44    Jones, Kandace        1:18-cv-   Michigan MCSWEENEY                06/11/2012    7     Category 7(a) Occlusion (10.24.2012       10/9/2018
                              03131               LANGEVIN LLC                                 and 11.20.2012)
  45    Loose, Teresa &       1:16-cv-   Michigan BABBITT & JOHNSON,       04/09/2007    7     Category 7: Perforation (6.2.2010)        12/16/2016
        Arnold                03399               P.A.
  46    McCrear,              1:18-cv-   Michigan THE SNAPKA LAW           10/21/2011    7     Category 7: PE Death (9.15.2015)          11/14/2018
        Kymisha S.            03564               FIRM
        [ESTATE OF]
  47    Miller, Scott     1:16-cv-       Michigan FLINT LAW FIRM, LLC 03/06/2008         5     Category 5 Failed Retrieval (5.27.2008) 10/25/2016
                          02901
  48    Niemi, Judith     1:18-cv-       Michigan FLORIN ROEBIG, P.A.      01/11/2013    5     Category 5 Failed Retrieval (4.19.2013) 8/29/2018
                          02683
  49    Nitz, Debra Ellen 1:18-cv-       Michigan THE GOSS LAW FIRM,       01/24/2008    6     Category 6 Tilt and Category 5 Failed     8/31/2018
                          02717                   P.C.                                         Retrieval (only record submitted is
                                                                                               dated 9.22.2009)
  50    Novak, Leslie         1:16-cv-   Michigan MURPHY LAW FIRM,         08/11/2010    5     Category 5 Failed Retrieval               10/6/2016
        Marie                 02672               LLC                                          (10.26.2010); Category 4 Unable to
                                                                                               Retrieve (same record)
  51    Robinson,             1:19-cv-   Michigan WEITZ &                  05/01/2008    6     Category 6; Category 5 Failed Retrieval   2/19/2019
        Kathleen              00746               LUXENBERG, P.C.                              (claims supported by record dated
                                                                                               7.11.2008)
  52    Scott, Loretta        1:19-cv-   Michigan ZONIES LAW LLC           01/18/2008    5     Category 5 Failed Retrieval (3.4.2008)    4/19/2019
                              01586

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                                                                           Implant                                                        Filing
 No.           Plaintiff      Case No.    State      Lead Counsel                      Cat.   Short Description of Injury and Date
                                                                            Date                                                          Date
  53    Sevelis, Rodney       1:18-cv-   Michigan WENDT LAW FIRM          03/15/2013    3     Category 3: Lifelong ACs (10.2.2013)      8/21/2018
                              02580
  54    Simpson, Walter       1:18-cv-   Michigan LOPEZ MCHUGH LLP        11/26/2014    7     Category 7(a) Occlusion (2.27.2015);      4/2/2018
        and Christine         01016                                                           Category 5 Failed Retrieval (same
                                                                                              record)
  55    Spyker, Mark          1:18-cv-   Michigan LOPEZ MCHUGH LLP        07/09/2008    7     Category 7: Thrombotic Occlusion          6/29/2018
                              02010                                                           (8.13.2010)
  56    Straub, Josie         1:18-cv-   Michigan WENDT LAW FIRM          08/05/2009    3     Category 3: Lifelong ACs (6.19.2012)      8/21/2018
                              02582
  57    Tyson, Derek A.       1:19-cv-   Michigan JAMES, VERNON &         04/21/2007    7     Category 7: PE (4.27.2015)                5/17/2019
        and Clara Johson      01979               WEEKS, P.A.
  58    Versluis, Scott       1:17-cv-   Michigan MARTIN BAUGHMAN,        02/04/2012    5     Category 5 Failed Retrieval (4.9.2012)    1/26/2017
                              00266               PLLC
  59    Warren,               1:17-cv-   Michigan SANDERS VIENER          02/20/2013    7     Category 7(d) Pain at implant site        4/20/2017
        Hezekiah              01241               GROSSMAN, LLP                               (2.15.3013)
  60    Abbott, Donald        1:19-cv-   Texas    TORHOERMAN LAW,         10/09/2006    4     Category 4 Unable to Retrieve             1/28/2019
                              00436               LLC                                         (8.22.2007)
  61    Addison, Robert       1:16-cv-   Texas    MURPHY LAW FIRM,        08/28/2009    7     Category 7(f) recurrent PE (1.20.2012     12/30/2016
        Shelton               03522               LLC                                         and 12.5.2011)
  62    Barrett, LaToya       1:17-cv-   Texas    MARTIN BAUGHMAN,        03/12/2007    5     Category 5 Failed Retrieval (3.28.2007)   1/12/2017
                              00128               PLLC
  63    Beard, Amber          1:17-cv-   Texas    FLEMING, NOLEN &        02/25/2010    5     Category 5 Failed Retrieval (5.7.2010)    2/15/2017
                              00480               JEZ, L.L.P.
  64    Bell, Paul L.         1:17-cv-   Texas    MATTHEWS &              08/18/2009    7     Category 7: Perforation and Fracture    6/13/2017
                              01976               ASSOCIATES                                  (2.13.2013), Category 7: Thrombosis
                                                                                              (2.23.2013)
  65    Benavides,            1:17-cv-   Texas    LOPEZ MCHUGH LLP        11/10/2010    5     Category 5 Failed Retrieval (9.14.2011) 6/15/2017
        Armando               02047
        [ESTATE]


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 No.           Plaintiff      Case No.    State       Lead Counsel                      Cat.   Short Description of Injury and Date
                                                                             Date                                                          Date
  66    Boatner, Heidi        1:15-cv-   Texas    BABBITT & JOHNSON,       05/19/2010    7     Category 7: Perforation (9.22.2010)       7/28/2015
                              01187               P.A.
  67    Boggs, Audra          1:18-cv-   Texas    THE MOODY LAW            05/14/2014    6     Category 6: Perforation (5.19.2010)       3/26/2018
                              00958               FIRM, INC.
  68    Bothe, Chance         1:17-cv-   Texas    MCEWEN LAW FIRM          01/26/2012    6     Category 6 Migration (8.31.2012);       8/31/2017
                              03013               LTD                                          Category 5 Failed Retrieval (same
                                                                                               record)
  69    Bowen, Jasmine        1:17-cv-   Texas    MCSWEENEY                01/15/2014    5     Category 5 Failed Retrieval (3.19.2014) 8/9/2017
                              02704               LANGEVIN LLC
  70    Brady, Marcella       1:16-cv-   Texas    MURPHY LAW FIRM,         03/13/2013    7     Category 7(e) Perforation (7.31.2013);    10/24/2016
        C.                    02882               LLC                                          Category 5 Failed Retrieval (same
                                                                                               record)
  71    Breaux-Nabors,        1:17-cv-   Texas    BROWN & CROUPPEN,        03/25/2011    4     Category 5 Unable to Retrieve             6/23/2017
        Valeriun              02174               P.C.                                         (12.30.2013)
  72    Buell, James          1:17-cv-   Texas    GOLDENBERG LAW,          11/22/2008    5     Category 5 Failed Retrieval (2.6.2009)    2/17/2017
                              00516               PLLC
  73    Butler-King,          1:16-cv-   Texas    MATTHEWS &               07/22/2009    7     Category 7(c) Fracture (3.31.2014) and    7/11/2016
        Teresa H.             01849               ASSOCIATES                                   Category 7(e) Perforation (2.6.2014)
  74    Campbell,             1:17-cv-   Texas    MATTHEWS &               08/20/2010    7     Category 7(e) Perforation and Category    9/8/2017
        Chiquita L.           03181               ASSOCIATES                                   3 Stenosis (records dated 11.21.2011
                                                                                               and 12.14.2011)
  75    Carillo, Raul         1:17-cv-   Texas    BABBITT & JOHNSON,       08/14/2007    7     Category 7(e) Perforation (images         8/17/2017
                              02819               P.A.                                         dated 3.22.2015)
  76    Carpenter, Sandy      1:18-cv-   Texas    GALLAGHER &              12/18/2012    7     Category 7(d) Migration (images dated     3/21/2018
        E.                    00928               KENNEDY, P.A.                                10.22.2014)
  77    Cole, Alisa           1:17-cv-   Texas    LAW OFFICES OF           11/11/2010    7     Category 7(d) Migration; Category 7(e)    8/31/2017
                              03025               BAIRD BROWN                                  Perforation; Category 7(f) PE (all same
                                                                                               record dated 3.20.2014)



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 No.           Plaintiff      Case No.    State      Lead Counsel                      Cat.   Short Description of Injury and Date
                                                                            Date                                                          Date
  78    County, Isaih         1:18-cv-   Texas    THE GALLAGHER           04/30/2012    6     Category 6 Tilt for both filters (only    10/5/2018
        [ESTATE OF]           03100               LAW FIRM PLLC                               record submitted is death certificate due
                                                                                              to PE with 6.12.2012 date of death)
  79    Engelbrecht,          1:17-cv-   Texas    LEVIN PAPANTONIO        09/18/2006    5     Category 5 Failed Retrieval               7/6/2017
        Robert                02291               THOMAS MITCHELL                             (5.22.2007); Category 4 Unable to
                                                  RAFFERTY &                                  Retrieve (same record); Category 4
                                                  PROCTOR, P.A.                               Ongoing Anticoagulation (6.26.2007)
  80    Forester, Brent       1:18-cv-   Texas    MATTHEWS &              05/24/2007    7     Category 7(e) Perforation (10.21.2016);   12/10/2018
        C.                    03885               ASSOCIATES                                  Category 5 Complex Retrieval
                                                                                              (10.21.2016); Category 4 Unable to
                                                                                              Retrieve (9.28.2016)
  81    Fox, Gregory          1:18-cv-   Texas    MCGLYNN, GLISSON        07/05/2012    7     Category 7(g) Post placement DVT          8/24/2018
                              02628               & MOUTON                                    (8.17.2012)
  82    Francis, Katrina      1:17-cv-   Texas    MURPHY LAW FIRM,        11/03/2008    7     Category 7(f) Recurrent PE                4/13/2017
                              01168               LLC                                         (11.18.2011 and 11.29.2011)
  83    Gonzalez, Justin      1:15-cv-   Texas    MATTHEWS &              02/21/2013    7     Category 7(e) Perforation, Category 5     10/5/2015
                              01569               ASSOCIATES                                  Failed Retrieval, Category 4 Unable to
                                                                                              Retrieve, Category 3 (claims supported
                                                                                              by records dated 8.16.2013)
  84    Greig, Susan          1:17-cv-   Texas    LEVIN PAPANTONIO        12/13/2012    6     Category 6 Penetration (3.29.2013),       1/30/2017
                              00300               THOMAS MITCHELL                             Category 5 Failed Retrieval (same
                                                  RAFFERTY &                                  record), and Category 4 Unable to
                                                  PROCTOR, P.A.                               retrieve (same record)
  85    Houck, Louise L.      1:17-cv-   Texas    MURPHY LAW FIRM,        03/27/2011    5     Category 5 Failed Retrieval (8.29.2011    10/25/2017
                              03886               LLC                                         and 2.24.2012); Category 4 Unable to
                                                                                              Retrieve (same records)
  86    Hubbard, Derrick 1:17-cv-        Texas    CRANDALL & KATT         10/20/2009    7     Category 7(f) PE (5.2.2013)               11/4/2016
        E. & Janice M.   00209



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 No.           Plaintiff      Case No.    State      Lead Counsel                      Cat.   Short Description of Injury and Date
                                                                            Date                                                          Date
  87    Ibarra, Maria A.      1:17-cv-   Texas    HEYGOOD, ORR &          01/06/2012    5     Category 5 Failed Retrieval (4.18.2012    9/21/2017
                              03363               PEARSON                                     and 10.4.2012); Category 4 Unable to
                                                                                              Retrieve (same records)
  88    Jackson,              1:18-cv-   Texas    LOPEZ MCHUGH LLP        01/31/2011    7     Category 7(a) Occlusion, Category 7(c)    9/28/2018
        Gentriece             03012                                                           Fracture, Category 7(e) Perforation,
                                                                                              Category 7(f) Post-placement PE,
                                                                                              Category 5 Complex Retrieval (all
                                                                                              medical records dated in 2015 with
                                                                                              filters removed during complex
                                                                                              removal on 3.16.2015
  89    Leal, Alberto         1:17-cv-   Texas    FLEMING, NOLEN &        04/15/2011    5     Category 5 Failed Retrieval (7.19.12);    6/14/2017
                              02020               JEZ, L.L.P.                                 Category 4 Unable to Retrieve (same
                                                                                              records)
  90    LeBlanc, Avery        1:18-cv-   Texas    MURPHY LAW FIRM,        04/30/2013    5     Category 5 Failed Retrieval (1.6.2015);   5/3/2018
                              01367               LLC                                         Category 4 Unable to Retrieve (same
                                                                                              records)
  91    Leslie, Susan E.      1:17-cv-   Texas    MATTHEWS &              02/19/2010    7     Category 7(f) Post-placement PE           9/11/2017
                              03205               ASSOCIATES                                  (9.24.2014), Category 7(g) DVT
                                                                                              (4.2.2010); Category 7(e) Perforation
                                                                                              (same records)
  92    Linder, Colleen  1:17-cv-        Texas    LOPEZ MCHUGH LLP        12/12/2006    7     Category 7g DVT (4.20.2007);              12/18/2017
                         04670                                                                Category 5 Failed Retrieval (1.22.2007)
  93    Lozano, Salvador 1:17-cv-        Texas    MATTHEWS &              12/02/2014    7     Category 7(e) Perforation (5.13.2015);    9/11/2017
        B.               03213                    ASSOCIATES                                  Category 4 Unable to Retrieve
                                                                                              (5.15.2015)
  94    Lunderman,            1:15-cv-   Texas    LOPEZ MCHUGH LLP        11/13/2008    5     Category 5 Failed Retrieval               9/30/2015
        Edward and            01542                                                           (6.22.2010); Category 3 Emotional
        Sarah Lynn                                                                            Distress



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 No.           Plaintiff      Case No.    State       Lead Counsel                         Cat.   Short Description of Injury and Date
                                                                                Date                                                         Date
  95    Marsden, Bonnie       1:18-cv-   Texas    LAW OFFICES OF              09/14/2006    7     Category 7(e) Perforation (10.5.2015)    11/13/2018
                              03521               CHRISTOPHER K.
                                                  JOHNSTON, LLC
  96    McCutchin, Judy       1:17-cv-   Texas    MATTHEWS &                  04/10/2010    7     Category 7(g) DVT (11.1.2011);           9/11/2017
        G.                    03219               ASSOCIATES                                      Category 6 (claim type unspecified);
                                                                                                  Category 4 Unable to Retrieve
                                                                                                  (11.10.2011)
  97    McGee, Michelle       1:17-cv-   Texas    MOTLEY RICE LLC             10/25/2010    6     Category 6 Migration (4.21.2011)         6/29/2017
        D.                    02221
  98    Medford, Alicia       1:18-cv-   Texas    JOHNSON LAW                 01/17/2008    5     Category 5 Failed Retrieval (8.1.2008)   9/21/2018
                              02940               GROUP
  99    Murray, Diana         1:17-cv-   Texas    CURTIS LAW GROUP            01/11/2007    7     Category 7(F) Post-placement PE          9/1/2017
                              03046                                                               (2.22.2008); filter successfully removed
                                                                                                  on 4.16.2008)
 100 Picou, Joseph G.         1:16-cv-   Texas    GRUBER & GRUBER             01/16/2012    7     Category 7(a) Occlusion (6.22.2013);     10/11/2016
                              02747                                                               Category 7(g) DVT (same record)
 101 Ramon, Allysha           1:16-cv-   Texas    DEGARIS & ROGERS,           04/17/2011    5     Category 5 Failed Retrieval (7.20.2011) 5/3/2016
                              01046               LLC
 102 Ramos, Carol             1:17-cv-   Texas    WENDT LAW FIRM              11/21/2007    6     Category 6 Thrombusi in Filter          8/29/2017
                              02975                                                               (12.13.2007); Category 5 Failed
                                                                                                  Retrieval Attempt (same record)
 103 Rankin, Betty T. 1:17-cv-           Texas    FLEMING, NOLEN &            10/25/2011    5     Category 5 Failed Retrieval (1.30.2012) 6/13/2017
                      01978                       JEZ, L.L.P.
 104 Ray, Gregory     1:16-cv-           Texas    BABBITT & JOHNSON,          04/28/2009    7     Category 7(a) Occlusion (12.3.2013);     8/9/2016
     Neill            02135                       P.A.                                            Category 7(d) Migration (same record)
 105 Robertson,       1:18-cv-           Texas    CURTIS LAW GROUP            03/25/2008    7     Category 7(e) Perforation (1.9.2015);    5/4/2018
     Latasha          01396                                                                       Category 7(g) DVT (9.12.2008)
 106 Romero, Elvia G. 1:17-cv-           Texas    FLEMING, NOLEN &            11/05/2009    5     Category 5 Failed Retrieval              5/26/2017
                      01763                       JEZ, L.L.P.                                     (12.21.2009)


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 No.           Plaintiff      Case No.    State       Lead Counsel                         Cat.   Short Description of Injury and Date
                                                                                Date                                                          Date
 107 Sharp, Sharon K.         1:16-cv-   Texas    FLEMING, NOLEN &            12/12/2013    7     Category 7(e) Perforation (12.18.2013); 10/12/2016
                              02763               JEZ, L.L.P.                                     Category 4 Unable to Retrieve (same
                                                                                                  record)
 108 Simmons,                 1:18-cv-   Texas    WAGSTAFF &                  03/14/2005    7     Category 7(c) Fracture (12.17.2009)     1/25/2018
     Marcus K.                00212               CARTMELL, LLP
 109 Surles, Enoch &          1:16-cv-   Texas    BABBITT & JOHNSON,          05/26/2011    7     Category 7(e) Perforation (11.7.2013)     9/1/2016
     Julia                    02361               P.A.
 110 Tapp, Tracy              1:18-cv-   Texas    JOHNSON LAW                 03/28/2016    7     Category 7(a) Occlusion; Category 7(c)    6/13/2018
                              01804               GROUP                                           Fracture; Category 7(g) DVT; Category
                                                                                                  5 Failed Retrieval (all claim supported
                                                                                                  by 6.7.2016 failed retrieval record
 111 Taylor, Amber            1:18-cv-   Texas    JOHNSON LAW                 03/21/2011    6     Category 6 Tilt (3.5.2012); Category 5    8/17/2018
                              02549               GROUP                                           Failed Retrieval (same records)
 112 Tillman, John            1:17-cv-   Texas    MURRAY LAW FIRM             08/23/2011    7     Category 7(g) DVT (8.19.2011 to           9/1/2017
                              03057                                                               8.31.2011); Category 3 Anticoagulation
                                                                                                  (10.3.2011 and 3.27.2014)
 113 Trevino, Jose            1:17-cv-   Texas    MCSWEENEY                   10/16/2009    5     Category 5 Failed Retrieval (12.4.2009)   8/10/2017
                              02728               LANGEVIN LLC
 114 Tubbs, Jerry and         1:18-cv-   Texas    LOPEZ MCHUGH LLP            10/15/2012    7     Category 7(e) Perforation (11.25.2015)    9/26/2018
     Annia                    02978
 115 Tucker, Ellen            1:17-cv-   Texas    MATTHEWS &                  11/02/2012    7     Category 7(d) Migration and Category      9/12/2017
                              03235               ASSOCIATES                                      7(e) Perforation (7.28.2015)
 116 Walker, Hattie           1:18-cv-   Texas    BROWN & CROUPPEN,           05/24/2011    4     Category 4 Unable to Retrieve             9/21/2018
                              02931               P.C.                                            (9.7.2012)
 117 Weaver, Annette          1:14-cv-   Texas    LEE MURPHY LAW              05/10/2011    7     Category 7(c) Fracture (8.29.2012)        9/19/2014
     [ESTATE]                 06014               FIRM, G.P.
 118 Yandell, Connie          1:18-cv-   Texas    LOPEZ MCHUGH LLP            07/29/2009    7     Category 7(a) Occlusion (4.29.2014);      4/6/2018
     and Calvin               01073                                                               Category 5 Failed Retrieval Attempt
                                                                                                  (8.8.2011)


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 No.           Plaintiff      Case No.     State        Lead Counsel                         Cat.   Short Description of Injury and Date
                                                                                  Date                                                           Date
 119 Alger, Lessie            1:17-cv-   Virginia   CURTIS LAW GROUP            02/10/2012    5     Category 5 Failed Retrieval (3.27.12       4/3/2017
                              01023                                                                 and 4.3.12)
 120 Bennett, Zachary         1:18-cv-   Virginia   FEARS NACHAWATI,            09/18/2009    6     Category 6 Perforation (1.6.2015)          4/16/2018
     Raymond                  01148                 PLLC
 121 Brown-Street,            1:17-cv-   Virginia   CURTIS LAW GROUP            02/28/2010    5     Category 5 Failed Retrieval (4.3.2012); 5/17/2017
     Sonya                    01625                                                                 Category 5 Unable to Retrieve (same
                                                                                                    records)
 122 Bryan, Lucretia          1:18-cv-   Virginia   MCGLYNN, GLISSON            06/07/2007    7     Category 7(f) PE; Category 5 Failed     6/15/2018
                              01839                 & MOUTON                                        Retrieval; Category 3 Anticoagulation
                                                                                                    (records dated 11.2.2012)
 123 Coleman, Dianna          1:16-cv-   Virginia   BABBITT & JOHNSON,          11/11/2011    5     Category 5 Failed Retrieval (9.12.2012) 10/25/2016
     & Jerry                  02894                 P.A.
 124 Del Cid, Jose            1:17-cv-   Virginia   THE MILLER FIRM             12/02/2011    7     Category 7(d) Migration (2.4.2012);        5/23/2017
                              01704                 LLC                                             Category 7(g) DVT (12.22011,
                                                                                                    1.13.2012 and 2.7.2011); Category 5
                                                                                                    Failed Retrieval (2.22.2012)
 125 Fletcher,                1:18-cv-   Virginia   NIEMEYER, GREBEL            09/08/2011    7     Category 7 Migration and Perforation       5/6/2016
     Franklin                 00644                 & KRUSE, LLC                                    and Category 4 Unable to Retrieve          (initially
                                                                                                    (multiple records submitted that are all   filed as
                                                                                                    from 2011)                                 part of
                                                                                                                                               multi-
                                                                                                                                               plaintiff
                                                                                                                                               case no.
                                                                                                                                               1:17-cv-
                                                                                                                                               06065)
 126 Fox, Lynell              1:15-cv-   Virginia   THE NATIONS LAW             12/29/2010    5     Category 5 Failed Retrieval Attempts       11/19/2015
     Margaret                 01822                 FIRM                                            (6.14.2011 and 6.23.2011)
 127 Frank, Kelly             1:15-cv-   Virginia   FEARS NACHAWATI,            03/14/2013    7     Category 7(c) Fracture (6.4.2013)          7/9/2015
                              01070                 PLLC


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 No.           Plaintiff      Case No.     State        Lead Counsel                         Cat.   Short Description of Injury and Date
                                                                                  Date                                                          Date
 128 Franklin, Sharon         1:17-cv-   Virginia   MOTLEY RICE LLC             05/23/2009    5     Category 5 Failed Retrieval (7.9.2011)    6/22/2017
     H. & Paul A.             02162
 129 Geberth, Patricia        1:16-cv-   Virginia   LOPEZ MCHUGH LLP            12/23/2009    6     Category 6 (perforation and difficult     9/30/2016
     J. & Roy J.              02600                                                                 retrieval claims regarding 2 filters) -
                                                                                                    multiple record submitted in support
                                                                                                    with latest record dated 4.11.2011
 130 Gee, Barbara             1:17-cv-   Virginia   MATTHEWS &                  05/08/2010    7     Category 7 Migration and Perforation      6/16/2017
                              02058                 ASSOCIATES                                      (4.24.2014); Category 5 Failed
                                                                                                    Retrieval Attempts (9.29.2010 and
                                                                                                    5.20.2014); Category 4 Unable to
                                                                                                    Retrieve (same records)
 131 Jackson, Sandra          1:16-cv-   [left      MESHBESHER &                11/23/2009    7     Category 7(c) Fracture (1.22.2013);       5/3/2016
                              01033      blank]     SPENCE, LTD.                                    Category 7(e) Perforation (1.22.2013)
 132 Jeffers, Mark            1:18-cv-   Virginia   THE GALLAGHER               03/19/2007    5     Category 5 Failed Retrieval               8/9/2018
     [ESTATE OF]              02447                 LAW FIRM PLLC                                   (11.28.2007); Category 4 (same
                                                                                                    records)
 133 Kisner, Terry            1:19-cv-   Virginia   O'LEARY, SHELTON,           06/21/2010    6     Category 6 Perforation (not noted in      5/24/2019
     Lynn                     02092                 CORRIGAN,                                       records submitted); Category 4 Unable
                                                    PETERSON, DALTON                                to Retrieve (9.30.2010)
                                                    & QUILLIN, LLC
 134 Lee, Dionne              1:17-cv-   Virginia   CURTIS LAW GROUP            06/28/2010    7     Category 7a Thrombosis (1.21.2011);       9/1/2017
                              03058                                                                 Category 7(F) Post-placement PE
                                                                                                    (same record
 135 Lipscomb,                1:17-cv-   Virginia   FLEMING, NOLEN &            03/17/2010    7     Category 7(d) Migration, Category 7(e)    9/29/2017
     Donald E. Jr.            03494                 JEZ, L.L.P.                                     Perforation, Category 5 Failed
                                                                                                    Retrieval, Category 4 Unable to
                                                                                                    Retrieve (all claims supported by
                                                                                                    records dated 9.22.2010 to 9.24.2010)



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 No.           Plaintiff      Case No.     State        Lead Counsel                         Cat.   Short Description of Injury and Date
                                                                                  Date                                                          Date
 136 Mauck, John              1:17-cv-   Virginia   MURRAY LAW FIRM             09/29/2012    7     Category 7(g) DVT and Category 5        9/19/2017
                              03328                                                                 Failed Retrieval (all records dated
                                                                                                    4.25.2013)
 137 McGahan,                 1:17-cv-   Virginia   BABBITT & JOHNSON,          06/30/2009    7     Category 7(a) Occlusion (8.21.2010);    7/12/2017
     Sandra                   02364                 P.A.                                            Category 7(e) Perforation (8.22.2010);
                                                                                                    Category 7(h) Infection (8.30.2010);
                                                                                                    Category 5 Failed Retrieval (8.30.2010)
 138 Neal, Greg               1:17-cv-   Virginia   HAUSFELD, LLP               08/03/2012    5     Category 5 Failed Retrieval               1/27/2017
                              00275                                                                 (10.16.2012); Category 4 Unable to
                                                                                                    Retrieve (same records)
 139 Newhouse,                1:18-cv-   Virginia   BURNETT LAW FIRM            01/27/2006    7     Category 7(b) (only 1.27.2006 implant     6/1/2018
     Robin and                01662                                                                 records submitted)
     Frederick, Sr.
 140 Penaranda,               1:16-cv-   Virginia   BARON & BUDD, P.C.          05/01/2012    7     Category 7(e) Perforation (1.18.2013)     5/2/2016
     Rafael                   01005                                                                 and Category 5 Failed Retrieval (same
                                                                                                    record)
 141 Phillips, Sherrie        1:18-cv-   Virginia   LAW OFFICE OF               Unknown       7     Category 7(a) Occlusion and Category      2/26/2018
                              00549                 CHRISTOPHER K.                                  5 Failed Retrieval (highlighted records
                                                    JOHNSTON, LLC                                   dated 8.29.2014 and 11.5.2014 to
                                                                                                    11.8.2014)
 142 Pitts, Earline           1:17-cv-   Virginia   MARC J. BERN &              03/06/2012    7     Category 7(f) PE (5.7.2015)               10/31/2017
                              03992                 PARTNERS, LLP
 143 Poteat, Betty            1:19-v-    Virginia   JOHNSON LAW                 07/03/2010    7     Category 7(g) DVT (7.6.2010);             2/27/2019
                              00843                 GROUP                                           Category 5 Failed Retrieval (same
                                                                                                    record); Category 4 Unable to Retrieve
                                                                                                    (same record)
 144 Redifer,                 1:18-cv-   Virginia   SWMW LAW, LLC               08/01/2011    7     Category 7(e) Perforation (5.6.2012       5/3/2018
     Stephanie                01370                                                                 and 3.31.2014); Category 7(g) DVT
                                                                                                    (8.27.2015)


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 No.           Plaintiff      Case No.     State        Lead Counsel                         Cat.   Short Description of Injury and Date
                                                                                  Date                                                       Date
 145 Shields, Curtis          1:18-cv-   Virginia   WAGSTAFF &                  09/18/2013    7     Category 7(g) DVT (11.4.2013);         5/4/2018
                              01379                 CARTMELL, LLP                                   Category 5 Failed Retrieval
                                                                                                    (10.29.2013); Category 4 Unable to
                                                                                                    Retrieve (same record)
 146 Smith, James             1:18-cv-   Virginia   THE MOODY LAW               04/08/2010    6     Category 3, 4, 5, and 6 (submitted     10/5/2018
     Carmichael               03096                 FIRM, INC.                                      records dated 3.28.2011)
 147 Smith, Richard           1:17-cv-   Virginia   LAW OFFICES OF              09/25/2012    7     Category 7a Occlusion, Category 7d     8/16/2017
                              02800                 BAIRD BROWN                                     Migration, Category 7g DVT, Category
                                                                                                    5 Failed Retrieval (submitted record
                                                                                                    dated 11.27.2013)
 148 Southern, George         1:18-cv-   Virginia   THE MOODY LAW     07/13/2007              6     Category 6 Perforation (images dated   11/15/2018
     Jr. and Edith            03575                 FIRM, INC.                                      7.24.2014)
 149 Williams, Myrtle         1:17-cv-   Virginia   HENINGER GARRISON 01/02/2012              5     Category 5 Failed Retrieval            3/7/2017
     & Wilson                 00679                 DAVIS, LLC                                      (12.24.2011)




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